Case 1:22-cv-10666-TLL-PTM ECF No. 11-1, PageID.572 Filed 08/05/22 Page 1 of 2




                             INDEX OF EXHIBITS

A.    The Week Magazine Mailing List

B.    Privacy: Sales, Rentals of Videos, etc., House Legislative Analysis Section,
      H.B. No. 5331, Jan. 20, 1989

C.    The Information Marketplace: Merging and Exchanging Consumer Data
      (Mar. 13, 2001)

D.    Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011)

E.    Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7, 2009)

F.    Martha C. White, Big Data Knows What You’re Doing Right Now,
      TIME.com (July 31, 2012)

G.    Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer
      Genome, N.Y. Times (June 16, 2012)

H.    Letter from Senator John D. Rockefeller IV, Chairman, Senate Committee
      on Commerce, Science, and Transportation, to Scott E. Howe, Chief
      Executive Officer, Acxiom (Oct. 9, 2012)

I.    Bipartisan Group of Lawmakers Query Data Brokers About Practices
      Involving Consumers’ Personal Information, Website of Senator Ed Markey
      (July 24, 2012)

J.    Prize Scams, Federal Trade Commission

K.    Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times,
      May 20, 2007

L.    Fraud Against Seniors: Hearing before the Senate Special Committee on
      Aging (August 10, 2000)

M.    2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe

N.    Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their
      Personal Data, N.Y. Times (Feb. 12, 2012)
Case 1:22-cv-10666-TLL-PTM ECF No. 11-1, PageID.573 Filed 08/05/22 Page 2 of 2




O.    European Network and Information Security Agency, Study on monetising
      privacy (Feb. 27, 2012)

P.    Hann, et al., The Value of Online Information Privacy: An Empirical
      Investigation (Oct. 2003)

Q.    California’s Reader Privacy Act Signed into Law, Electronic Frontier
      Foundation (Oct. 3, 2011)
